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UNITED STATES DISTRICT COURT
in 029 23 for the
22 District of Alaska

Received
by U.S. Marshals Service 06:30 Oct 19, 2023

Case Numbetisiid GRAS Bhi S

FID # (0.22

WARRANT # Ape pis B- Z
CHRISTINA REYNA QUINTANA Entered NCIC —_fU2

Defendant Entered APSIN

CLER cu S. DISTRICT COURT
COUNITED STATES OF AMERICA

)
)
VS. )
)
)

—SEALED-—. Removed NCIC
ARREST WARRANT?Removed APSIN

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) CHRISTINA REYNA QUINTANA

who is accused of an offense or violation based on the following document filed with the court:

?

| Indictment C) Superseding Indictment (Information 1 Superseding Information C)Complaint

L] Probation Petition LJ Supervised Release Petition LC) Pretrial Petition CL] Order of the Court
This offense is briefly described as follows:
21:848(a) and (b) Continuing Criminal Enterprise — Count |

21:846 and 841(a)(1).(b)(1)(A),(B) and (C) Conspiracy to Distribute and Possess with Intent to Distribute Controlled
Substances- Count 2

Date: October 18, 2023 By_s/Brenda Kappler
Issuing officer's nae

City and state: Anchorage, Alaska

This warrant was received on (date) iO; le

at (city and state) Avclhhace AK

; 5 oe ;
Date: //// /2023 ye foe

Arr esting officer’ Ss signature

Ardtlen Stott Push

Printed name and title

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